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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


 JOHN DOE,

           Plaintiff,                       Case No. 1:18−cv−1413

    v.                                      Hon. Janet T. Neff

 MICHIGAN STATE UNIVERSITY, et al.,

           Defendants.
                                      /



                                      ORDER
        The Court having resolved Defendants' motions to dismiss, and
 consistent with the September 10, 2019 order (ECF No. 52): IT IS HEREBY
 ORDERED that Defendants Michigan State University and Michigan State
 University Board of Trustees shall, not later than 14 days after the September
 1, 2020 Opinion and Order (ECF No. 77), file their Answer(s) to Plaintiff's
 Amended Complaint (ECF No. 41).

         IT IS SO ORDERED.


 Dated: September 2, 2020                            /s/ Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge
